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   13   WEMASH, INC.
   14                        UNITED STATES DISTRICT COURT
   15                      CENTRAL DISTRICT OF CALIFORNIA
   16

   17   WEMASH, INC., a Delaware                      Case No. 2:15-CV-8719 JFW (JPRx)
        corporation,
   18                                                 JOINT STATEMENT OF MEET
                     Plaintiff,                       AND CONFER EFFORTS
   19                                                 REGARDING DEFENDANTS
              v.                                      WEMESH, INC. AND MICHAEL
   20                                                 PAZARATZ’S MOTION TO
        WEMESH INC., an Ontario, Canada               DISMISS COMPLAINT
   21   corporation; and Michael Pazaratz, an
        individual,                                   Date:
   22                                                 Time:
                     Defendants.                      Crt Rm:      16
   23
                                                      Judge:       Hon. John F. Walter
   24

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                                                         JOINT STATEMENT OF MEET AND CONFER
                                                           EFFORTS RE DEFENDANTS’ MOTION TO
                                                                             DISMISS COMPLAINT
                                                                  Case No. 2:15-CV-8719 JFW (JPRx)
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    1      I.        INTRODUCTION
    2           1.    Defendants’ Position
    3           Pursuant to the Court’s Standing Order (Dkt. 9) at Paragraph 5(b),
    4   Defendants WeMesh, Inc. (“WeMesh”) and Dr. Michael Pazaratz (“Dr. Pazaratz”)
    5   (collectively “Defendants”) and Plaintiff WeMash, Inc. (“Plaintiff” or “WeMash”)
    6   (Defendants and Plaintiff, collectively, “Parties”) respectfully submit this joint
    7   statement regarding Defendants’ intention to file a motion to dismiss Plaintiff’s
    8   Complaint [Dkt. 1]. The meet and confer call took place on December 21, 2015.
    9           For Defendants, the meeting was attended by Defendants’ lead counsel
   10   Bobby Ghajar, which Defendants understand is required by the Standing Order to
   11   facilitate the parties’ agreeing to amend the pleadings to avoid motion
   12   practice. Mr. Marcus Peterson, a senior associate at the firm, also attended for
   13   Defendants. For Plaintiff, the Ms. Jessica Wood, but not lead counsel, Ms. Shari
   14   Mulrooney Wollman, attended the conference.
   15           Counsel for the parties discussed the grounds of Defendants’ motion, which
   16 had previously been set forth in a detailed letter from Defendants’ counsel to

   17 Plaintiff's counsel. See Exhibit 1. At the conclusion of the call, Ms. Wood

   18 indicated that she would speak with her client and determine whether it would be

   19 willing to amend any portion of the Complaint in light of the issues Defendants

   20 raised. The next day, on December 22, Ms. Wood emailed Defendants’ counsel

   21 representing that she had not yet been able to discuss the issue with her client, and

   22 in light of the holidays, offered an additional one-week extension of time for

   23 Defendants to respond to the Complaint and asked Defendants to prepare a

   24 stipulation. Counsel for Defendants prepared a stipulation to that effect at Ms.

   25 Woods’ request. The next day, on December 23 at about 5:00 pm, Ms. Woods

   26 took back the one-week extension of time, apparently because counsel for

   27 Defendants could not agree to certain dates for the parties’ Rule 26(f) conference
                                                  -2-
   28
                                                        JOINT STATEMENT OF MEET AND CONFER
                                                          EFFORTS RE DEFENDANTS’ MOTION TO
                                                                            DISMISS COMPLAINT
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    1   (which Defendants believe is completely unrelated to the issues at bar). The email
    2   chain between the parties is attached as Exhibit 2. Defendants’ efforts to avoid this
    3   predicament are set forth in Exhibit 2, specifically the December 24 email from
    4   Marcus Peterson to Jessica Wood. Accordingly, the parties did not reach
    5   agreement on a further extension of Defendants’ deadline to file a responsive
    6   pleading, and in view of the Court’s Standing Order requiring that a Joint Report
    7   be filed within three days of the meet and confer, and in view of the present
    8   response present deadline, Defendants intend to go forward with their motion to
    9   dismiss on December 28.
   10         Finally, during the meet and confer call on Monday, December 21,
   11 Plaintiff’s counsel indicated an inability to set forth any position as to the

   12   sufficiency of the allegations in the Complaint and agreed to confer with her client
   13   about amending the Complaint. However, as confirmed in Exhibit 2 and Plaintiff’s
   14   position below, Plaintiff doubles down on the sufficiency of its Complaint and
   15   does not intend to amend it in any way. Accordingly, Plaintiff’s claim that it
   16   needed until Monday, December 28 to determine whether to amend the Complaint
   17   is a red-herring and is an effort to mislead the Court.
   18         The parties’ respective positions on Defendants’ planned motion are detailed
   19   below.
   20         2.     Plaintiff’s Position
   21         Despite Plaintiff’s several requests that the parties file this joint statement on
   22   Monday, December 28 due to the holidays, and Plaintiff’s repeated offers to
   23   continue Defendants’ deadline to respond to the complaint, Defendants changed
   24   their minds at the last minute and demanded that the parties file the joint statement
   25   today, on Christmas Eve. Defendants’ insistence that the parties file today
   26   required Plaintiff’s counsel to work on Christmas Eve and postpone travel plans to
   27   meet her family. It places a further burden on Plaintiff’s other counsel, who is out
                                                  -3-
   28
                                                        JOINT STATEMENT OF MEET AND CONFER
                                                          EFFORTS RE DEFENDANTS’ MOTION TO
                                                                            DISMISS COMPLAINT
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    1   of town for the holidays as well. 1 Further, Defendants have compounded this
    2   issue by serving their portion in the middle of the night—at 11:38pm on December
    3   23—demanding that if Plaintiff did not prepare its portion, Defendants would
    4   unilaterally file the following day by 4pm on Christmas Eve, thus severely cutting
    5   short Plaintiff’s time to respond. Therefore, Plaintiff had less than 24 hours to
    6 prepare its portion of the statement on the Christmas Eve holiday. While Plaintiff

    7 has done its best to prepare its portion, this statement does not represent Plaintiff’s

    8 complete position and Plaintiff expressly reserves its right to amend its position if

    9 necessary.

   10          Plaintiff further notes that Defendants’ insistence upon filing their motion on
   11   Monday, December 28, despite Plaintiff’s multiple offers to extend that deadline,
   12   will now require Plaintiff to oppose the motion over the New Year’s holiday as
   13   well. Defendants’ counsel’s lack of professional courtesy is shocking to say the
   14

   15   1 Plaintiffwould have been quite willing to have Ms. Wollman attend the meet and
   16   confer. However, Plaintiff only became aware of the requirement that the lead trial
        counsel must attend after the conference had taken place. It was not Plaintiff’s
   17   intention to violate the Court’s Order, and Plaintiff apologizes for this inadvertent
   18   violation. As movants, Defendants had an obligation to inform Plaintiff if they felt
        additional counsel needed to attend the meeting, and Plaintiff would have willingly
   19   complied. However, Defendants never raised this issue before or during the
   20   conference, or at any time before 11:38pm on December 23 when Plaintiff
        received this joint statement. In fact, as confirmed in the attached correspondence,
   21   when counsel for plaintiff sent the email to counsel for defendants confirming the
   22   date and time of the conference and that she would attend on behalf of plaintiff,
        defense counsel knew at that time that only Ms. Wood planned to attend and never
   23   requested the participation of lead counsel. It appears Defendants knew of the
   24   Court’s Rule and knowingly failed to raise it at the time—when Plaintiff had the
        opportunity to correct it—as they evidently hoped to do exactly what they have
   25   done, i.e. raise the issue after the fact, without making any sincere effort to resolve
   26   this issue themselves, and instead spring this on Plaintiff in connection with their
        filing. Such actions are highly unprofessional and contrary to the purpose of the
   27   Court’s Rule to evaluate and attempt to resolve the issues.
                                                  -4-
   28
                                                        JOINT STATEMENT OF MEET AND CONFER
                                                          EFFORTS RE DEFENDANTS’ MOTION TO
                                                                            DISMISS COMPLAINT
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    1   least.
    2             Further, Plaintiff requested that Defendants remove their unrelated vitriolic
    3   attacks on Plaintiff, needless bickering, and attachments comprising email
    4   correspondence between the parties which has no bearing on the parties’ evaluation
    5   of the issues, but Defendants refused. See Exhibit 2. Although Defendants’
    6 references are inappropriate in a joint statement and contrary to the purpose and

    7 letter of the Court’s Order requiring the parties to submit a statement focusing on

    8 the evaluation of the issues, Plaintiff feels it is forced to respond to a few points.

    9             For example, Defendants’ assertion that this case is retaliatory is exactly
   10   backwards. In fact, Defendant WeMesh initiated this action by aggressively
   11   sending false and unsubstantiated takedown notices to three social media
   12   platforms—Apple, Instagram and LinkedIn—that Plaintiff uses to promote its
   13   WEMASH Application (“App”), without even contacting Plaintiff first. In the
   14   takedown notices, Defendant WeMesh’s counsel admitted that Defendant
   15 WeMesh’s WEMESH mark and Plaintiff’s WEMASH Mark are similar and there

   16 is a likelihood of confusion, as well as instances of actual confusion:

   17
                  “Given the similarity in the marks themselves, the use of the marks, and the
   18             types of goods and services offered, there is confusion as to the source and
   19             origin of the goods and services that [WeMash, Inc.] provides. In fact,
                  WeMesh first became aware of your use of the “WEMASH” and “WEMES”
   20             marks because of recent instances of actual confusion between the entities,
   21             in social media…”

   22
        As Defendant WeMesh does not have priority, Defendant WeMesh is an admitted

   23
        infringer. Further, Defendant WeMesh refused to provide evidence of its

   24
        ownership of the WEMESH Mark. Accordingly, as Plaintiff WeMash was

   25
        damaged as a result of Defendant WeMesh’s precipitous and reckless actions,

   26
        Plaintiff was forced to bring this lawsuit in order to protect its valuable trademark

   27
        rights.
                                                     -5-
   28
                                                           JOINT STATEMENT OF MEET AND CONFER
                                                             EFFORTS RE DEFENDANTS’ MOTION TO
                                                                               DISMISS COMPLAINT
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    1         From the outset, Plaintiff has been interested in early resolution of this
    2 lawsuit and repeatedly requested that the parties undertake an early reciprocal

    3 exchange of priority evidence which will likely be dispositive of the issues. In

    4 fact, Plaintiff has made extensive efforts over the past three weeks to help

    5 Defendants avoid bringing their motion to dismiss including at least six good faith

    6 offers to conduct a mutual exchange of evidence that will likely resolve all, or at

    7   least most, of the issues in Defendants’ motion, and offering Defendants at least
    8   five separate extensions to file their motion so the parties can attempt to resolve the
    9   issues.
   10         However, as shown in Exhibit 2, despite Plaintiff’s best efforts to avoid
   11 needless motion practice, and attempts to focus on the merits and an early

   12 resolution of the issues, Defendants have refused Plaintiff’s offers and extensions

   13 without explanation, mocked Plaintiff’s efforts to permit them to avoid bringing

   14 their motion, and continue to refuse to cooperate and act with untoward aggression.

   15 In contrast to Plaintiff’s repeated good faith offers, Defendants have declined to act

   16 reciprocally in good faith by, on the one hand, demanding that Plaintiff meet with

   17 them Monday December 28 on Defendants’ own motion, and at the same time

   18 refusing to meet with Plaintiffs the same day for the Rule 26(f) conference, or at

   19 any time prior to the last possible minute, a week later, for no good reason.

   20

   21                  II.   SUMMARY OF DEFENDANTS’ ANTICIPATED
   22                        MOTION AND POSITION
   23             This is a retaliatory trademark suit brought against a Canadian company,
   24 WeMesh, and its President, Dr. Pazaratz after WeMesh attempted to enforce its

   25 federally-registered trademark for WEMESH. As discussed during the meet and

   26 confer, Defendants intend to move to dismiss Plaintiff’s Complaint (Dkt. 1) on

   27 four, separate grounds:
                                                  -6-
   28
                                                        JOINT STATEMENT OF MEET AND CONFER
                                                          EFFORTS RE DEFENDANTS’ MOTION TO
                                                                            DISMISS COMPLAINT
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    1      A.    There is no personal jurisdiction over Defendant Dr. Pazaratz, a Canadian
    2            citizen. Plaintiff does not even allege facts to make a prima facie showing
    3            of personal jurisdiction against Dr. Pazaratz;
    4      B.    As to Defendant Dr. Pazaratz, Plaintiff does not identify any activities that
    5            he engaged in that would give rise to individual liability for the claims in
    6            the case;
    7      C.    All of Plaintiff’s trademark-related claims, including its claim for
    8            cancellation, fail to state a claim upon which relief can be granted under
    9            Iqbal and Twombly because they do not allege facts showing that Plaintiff
   10            has common law trademark priority, which is required under the law; and
   11      D.    Separately, Plaintiff’s cybersquatting claim fails to state a claim upon
   12            which relief can be granted because: a) it does not allege any facts relating
   13            to Defendants’ supposed knowledge of Plaintiff’s trademark rights or a
   14            “bad faith intent to profit” (required under the law); b) it attempts to reach
   15            extraterritorially to domain names lawfully registered in Canada and St.
   16            Helena; and c) the law requires a showing that the domain names were
   17            first registered in bad faith, but the original registration of the domain
   18            names precedes even Plaintiff’s unsupported first use.
   19

   20           Each are briefly described below, followed by a summary of the December
   21   21, 2015 discussion between counsel.
   22                 A. There is No Personal Jurisdiction Against Individual
   23                    Defendant Dr. Pazaratz
   24           The Complaint does not direct any specific wrongful acts by Defendant
   25   WeMesh’s President, Dr. Pazaratz, yet individually names him as a
   26   defendant. Defendants believe this was done solely as a means to create leverage
   27   against Defendants. Relying on vague and general assertions, the Complaint
                                                   -7-
   28
                                                         JOINT STATEMENT OF MEET AND CONFER
                                                           EFFORTS RE DEFENDANTS’ MOTION TO
                                                                             DISMISS COMPLAINT
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    1   defines the term “Defendants” to include both WeMesh and Dr. Pazaratz. Dkt. 1 at
    2   2.
    3         Relatedly, the Complaint fails to allege any facts against Dr. Pazaratz that
    4   would justify exercising personal jurisdiction over him in the Central
    5   District. During the December 21st meet and confer conference, Plaintiff’s counsel
    6 stood behind the Complaint, and provided no other reason or bases for asserting

    7 jurisdiction over Dr. Pazaratz in this District. Plaintiff’s counsel said she would

    8 look into this issue, and the one below (2), and confer with her client regarding

    9 possibly amending the Complaint to allege additional facts.

   10

   11

   12

   13                B. The Complaint Fails to State Any Basis Under Which Dr.
   14                   Pazaratz Could Be Personally Liable for the Claims
   15         Plaintiff does not allege any business that Dr. Pazaratz, individually, has
   16   conducted in this District; any wrongful acts or omissions Dr. Pazaratz has
   17   engaged in in this District; or any activities Dr. Pazaratz himself has directed
   18   toward this District. Therefore, he should be dismissed from the Complaint.
   19          In meet and confer correspondence, Plaintiff stated that its claims against
   20   Dr. Pazaratz stem from his alleged registration of certain domain names that
   21   Plaintiff has raised in its Complaint (which is not alleged in the
   22   Complaint). During the December 21st meet and confer conference, Plaintiff’s
   23 counsel again mentioned that certain of the accused domain names were registered

   24 by Dr. Pazaratz, but did not offer any other basis as to why Dr. Pazaratz was

   25 named individually in the Complaint. Defendants’ counsel explained that they

   26 seek identification of: 1) facts in the Complaint that demonstrate why Plaintiff sued

   27 him individually; and 2) facts in the Complaint that set forth a basis for the Court
                                                  -8-
   28
                                                        JOINT STATEMENT OF MEET AND CONFER
                                                          EFFORTS RE DEFENDANTS’ MOTION TO
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    1   to have personal jurisdiction over Dr. Pazaratz. Plaintiff’s counsel said she would
    2   look into this issue, and the one above (1), and confer with her client regarding
    3 possibly amending the Complaint to allege additional facts. Plaintiff has not yet

    4 taken a position as to whether it will dismiss Dr. Pazaratz from the Complaint.

    5                    C. Plaintiff’s Trademark-Related Claims (Counts 1, 3, 5, 6 2) are
    6                         Insufficiently Pleaded
    7          All of Plaintiff’s trademark-related claims are based on the same premise –
    8   that Defendants infringe Plaintiff’s alleged trademark rights in the WEMASH and
    9   WEMES trademarks. As Plaintiff admits in the Complaint, Defendant WeMesh
   10   owns a federal trademark registration for the mark WEMESH®, which it filed with
   11 the USPTO on May 5, 2014. Plaintiff owns no trademark registrations. Under the

   12 Lanham Act, Defendant WeMesh has nationwide, constructive priority rights to

   13 the WEMESH mark dating at least back to the filing date. In order to prevail on a

   14 claim of trademark infringement, Plaintiff has the burden of establishing (and

   15 therefore alleging with specific facts) that Plaintiff used WEMASH and WEMES

   16 as trademarks prior to May 5, 2014, because priority of use is the first element of a

   17 claim of trademark infringement. None of the vague and general allegations in the

   18 Complaint – even if taken as true – are of the type of activities courts have

   19 recognized as conferring nationwide, common law trademark rights, and fail as a
                          3
   20 matter of law.

   21

   22
        2 Plaintiff’s   Fourth Cause of Action is for Declaratory Judgment of Non-
   23
        infringement
   24
        3 Likewise,     Plaintiff’s claim for cancellation of WeMesh’s federal trademark
   25

   26   registration (Third Cause of Action) also fails because Plaintiff has not sufficiently
   27   alleged trademark rights superior to Defendants’ rights.
                                                       -9-
   28
                                                             JOINT STATEMENT OF MEET AND CONFER
                                                               EFFORTS RE DEFENDANTS’ MOTION TO
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     1         During the meet and confer, Defendants’ counsel explained the bases of the
     2   planned motion, and discussed the insufficiency of the vague and general
     3   allegations in the Complaint. In response, Plaintiff’s counsel sought guidance from
     4   Defendants as to how Plaintiff might amend its Complaint to avoid a motion to
     5   dismiss. Defendants are not privy to what additional facts Plaintiff could possibly
     6   allege, but stated that that Plaintiff would need to allege facts showing public use
     7   of the trademark (rather than internal use) and to also allege specific activities that
     8   took place publicly before May 2014. Counsel for Plaintiff stated that she would
     9 discuss the issue with her client and determine whether Plaintiff could amend its

    10   complaint to state additional facts upon which it bases its claim of trademark
    11   priority. Plaintiff has not yet taken a position on whether it will amend its
    12   complaint.
    13                D. Plaintiff’s Cybersquatting Claims Should be Dismissed for
    14                    Four Separate Reasons
    15          Plaintiff has alleged a claim for cybersquatting under the
    16   Anticybersquatting Consumer Protection Act (“ACPA”), which provides a cause
    17   of action for the owner of a trademark against one who has registered a
    18   “confusingly similar” domain with a “bad faith intent to profit” from it.
    19          Plaintiff’s Complaint fails to state a claim for cybersquatting for four,
    20   separate reasons:
    21         1) Because Plaintiff has not adequately pleaded trademark rights in
    22             WEMASH or WEMES (see supra 3), it does not have standing to assert a
    23             cybersquatting claim against Defendants.
    24         2) Plaintiff’s conclusory allegations do not properly state a claim that
    25             Defendants’ domain names were registered with a “bad faith intent to
    26             profit.” The Complaint does not allege (because it cannot) that
    27             Defendants knew about Plaintiff’s supposed earlier use, let alone allege
                                                   -10-
    28
                                                          JOINT STATEMENT OF MEET AND CONFER
                                                            EFFORTS RE DEFENDANTS’ MOTION TO
                                                                              DISMISS COMPLAINT
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     1            facts relating to Defendants’ supposed “bad faith”;
     2         3) The Ninth Circuit has confirmed that there is no claim for cybersquatting
     3            where the accused domain names were originally registered (by a third
     4            party or otherwise) prior to Plaintiff’s alleged first use of its trademarks –
     5            as is the case here;
     6         4) The Complaint attacks domain names that were lawfully registered, by a
     7            Canadian entity, through Canadian (.ca) and St. Helena (.sh) domain
     8            name registrars. Plaintiff has no legal basis for seeking extraterritorial
     9            application of the ACPA against those domain names.
    10         During the meet and confer call, Plaintiff’s counsel refused to discuss the
    11   law governing the ACPA claims, stating that it was not her “burden to debate”
    12   such legal issues, which she had not “looked into.” Plaintiff’s counsel also stated
    13   she would consider the issues and discuss with her client whether Plaintiff would
    14   amend the Complaint. Plaintiff has not yet taken a position on such amendment.
    15

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    28
                                                         JOINT STATEMENT OF MEET AND CONFER
                                                           EFFORTS RE DEFENDANTS’ MOTION TO
                                                                             DISMISS COMPLAINT
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     1            III.   SUMMARY OF PLAINTIFF’S POSITION ON MOTION TO
     2                   DISMISS
     3         Defendants’ motion is nothing more than a frivolous attempt to delay
     4 resolution of this dispute. Among other goods and services, WeMash designs,

     5 creates, develops, manufactures, promotes, provides and/or distributes innovative

     6 software, web-based platforms and applications (“apps”) related to multimedia,

     7 videos, entertainment, sports, music, popular culture and more, as well as related

     8 services (the “WeMash Goods/Services”). In particular, WeMash is the creator,

     9 owner and provider of an app that allows users to access premium video content,

    10 which can be edited and integrated with text, graphics and other multimedia

    11 content for posting, linking and sharing online and across various social media and

    12 communications platforms (the “Wemes App”). WeMash is the owner of

    13 trademarks which it uses in connection with the WeMash Goods/Services and/or

    14 Wemes App including, but not limited to WEMASH™, WEMES™ and

    15 WeMash’s proprietary W & Design (crown) ™ logo (collectively, the “WEMASH

    16 Marks”). In addition, WeMash has owned and operated the domain

    17 www.wemash.com (the “WeMash Domain”) since at least November 20, 2005.

    18        On or about October 14, 2015, Defendant WeMesh wrongly assumed it had
    19 priority in its WEMESH Mark, and issued false takedown notices to Apple,

    20 Instagram and LinkedIn, requesting that Plaintiff WeMesh’s pages and accounts be

    21 removed. As described above, in the takedown notices, Defendant WeMesh

    22 admits that there is a likelihood of confusion, and as Defendants do not have

    23 priority they are admitted infringers.

    24        Before filing this lawsuit, Plaintiff WeMash contacted counsel for WeMesh
    25 and requested evidence of WeMesh’s priority but, after a long period of silence,

    26 Defendant WeMesh refused. Accordingly, Plaintiff WeMash filed this lawsuit

    27 alleging, inter alia, Defendants WeMesh and Mr. Pazaratz have infringed
                                                -12-
    28
                                                       JOINT STATEMENT OF MEET AND CONFER
                                                         EFFORTS RE DEFENDANTS’ MOTION TO
                                                                           DISMISS COMPLAINT
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     1   Plaintiff’s trademark rights in its WEMASH Mark by creating, promoting and
     2   distributing multimedia and entertainment software and/or apps for the Apple
     3   iPhone and/or iPad, including but not limited to its WeMesh App (the “WeMesh
     4   App”) (collectively, the “WeMesh Goods”) bearing colorable imitations of marks
     5   used on and in connection with the WeMash Goods/Services.
     6         In any event, Plaintiff’s allegations are accepted as true on a motion to
     7   dismiss. There is no question that Plaintiff WeMash’s complaint—which is 25
     8   pages long and has multiple exhibits—sets forth sufficient details of Defendants’
     9   wrongful acts to support each of Plaintiff’s claims. Plaintiff’s positions on each of
    10   the four issues raised by Defendants are briefly described below.
    11

    12 1 & 2. There is Personal Jurisdiction Against Individual Defendant Dr.

    13 Pazaratz, and The Complaint States a Sufficient Basis Under Which Dr.

    14 Pazaratz Could Be Personally Liable for the Claims

    15         Defendants’ assertion that the Complaint does not set forth any specific
    16 wrongful acts by Defendant WeMesh’s President, Dr. Pazaratz completely ignores

    17 the plain language of the pleadings. Specific allegations relating to Mr. Pazaratz

    18 can be found, for example, at Paragraphs 25, 27 and 51-56. These allegations state

    19 that Mr. Pazaratz is the owner of certain of the infringing domain names at issue.

    20 See, e.g., Paragraph 25. Taken as true, these allegations set forth specific wrongful

    21 acts by Defendant Pazaratz that are sufficient to support Plaintiff’s claims. In

    22 addition, the Paragraphs naming Defendant Pazaratz are sufficient to show that he

    23 directed his actions toward this forum, creating the basis for jurisdiction here.

    24         Moreover, while Defendants’ December 17, 2015 correspondence purported
    25 to set forth four grounds for its motion to dismiss, Plaintiff is still not clear on the

    26 basis for Defendants’ motion. At the parties’ December 21 meet and confer,

    27 Defendants’ counsel was unprepared and did not even know basic facts about their
                                                   -13-
    28
                                                          JOINT STATEMENT OF MEET AND CONFER
                                                            EFFORTS RE DEFENDANTS’ MOTION TO
                                                                              DISMISS COMPLAINT
                                                                   Case No. 2:15-CV-8719 JFW (JPRx)
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     1   own clients. For example, Defendants’ counsel insisted that there is no basis for
     2   naming Mr. Pazaratz as an individual as he is merely the administrative contact of
     3   the infringing domain names at issue. However, Plaintiff’s counsel pointed out
     4   that Mr. Pazaratz is not identified as the “administrative contact” of certain of the
     5   infringing domain names identified in the Complaint at Paragraph 25, but rather
     6   Mr. Pazaratz is listed as the “owner” and sole “registrant” of the domains, which
     7   registrations also display Mr. Pazaratz’s home address. Apparently Defendants’
     8   counsel still hasn’t bothered to look at the publicly available registration
     9   information, because they don’t even mention this evidence in their statement
    10 above. Accordingly, Plaintiff is unaware on what basis Defendants intend to move
    11 now that Defendants are aware of this issue. 4

    12          Likewise, at the meet and confer, Defendants’ counsel was also unaware
    13   Defendants had sent a demand letter directly to Plaintiff in this forum.
    14 Accordingly, Plaintiff does not know on what basis Defendants intend to move

    15 now that Defendants are aware of this issue as well.

    16

    17 3. Plaintiff’s Trademark-Related Claims are Sufficiently Plead

    18          Defendants have failed to demonstrate that Plaintiff has not pled facts that
    19 establish Plaintiff’s prior trademark rights. As just one example, the Complaint

    20 sets forth allegations demonstrating that “since at least as early as 2009, and

    21 continuously to the present, WeMash has used the distinctive WEMASH mark in

    22 connection with its business, including but not limited to its innovative and high-

    23 quality WeMash Goods/Services.” Paragraph 13. In addition, the Complaint sets

    24 forth specific details regarding Plaintiff’s use of the mark at Paragraphs 14-17,

    25

    26
         4 Plaintiff
                   expressly reserves its right to amend the Complaint after Defendants file
    27   their Motion to Dismiss pursuant to F. R. Civ. P. 15.
                                                   -14-
    28
                                                          JOINT STATEMENT OF MEET AND CONFER
                                                            EFFORTS RE DEFENDANTS’ MOTION TO
                                                                              DISMISS COMPLAINT
                                                                   Case No. 2:15-CV-8719 JFW (JPRx)
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     1   among others.
     2        Defendants claim priority back to January 2015. However, Plaintiff claims
     3 priority back to 2009. Trademark rights in the United States are based on use of

     4 the mark in interstate commerce, not on registration. Therefore, taken as true,

     5 Plaintiff’s allegations are sufficient to support Plaintiff’s claims of trademark

     6 infringement and unfair competition against Defendants.

     7

     8 4. Plaintiff’s Cybersquatting Claims Are Valid

     9        Likewise, Plaintiffs set forth several allegations in the Complaint with
    10 specific facts regarding Defendants’ wrongful cybersquatting. See, e.g., Paragraph

    11 25, 51-56. Further, During the parties’ meet and confer, Defendants’ counsel

    12 admitted he was unaware of any authority that supported his contention that the

    13 ACPA does not apply to .ca or .sh domain names. Furthermore, as discussed

    14 above, Defendants’ counsel was unprepared for the meet and confer and had

    15 apparently not reviewed the evidence of the domain name registrations at issue. In

    16 any event, the allegations pled in the Complaint are sufficient to support Plaintiff’s

    17 cybersquatting claim.

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                                                        JOINT STATEMENT OF MEET AND CONFER
                                                          EFFORTS RE DEFENDANTS’ MOTION TO
                                                                            DISMISS COMPLAINT
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     1   Dated: December __, 2015           PILLSBURY WINTHROP SHAW PITTMAN LLP
                                            BOBBY GHAJAR
     2                                      MARCUS D. PETERSON
     3
                                            By: /s/ Bobby Ghajar
     4                                          Bobby Ghajar
                                                Marcus D. Peterson
     5                                      Attorneys for Plaintiff WEMASH, INC.
     6
         Pursuant to Local Rule 5-4.3.4, Bobby Ghajar hereby attests that the following
     7
         signatory concurs in the filing’s content and has authorized the filing.
     8

     9   Dated: December 24, 2015           MANATT, PHELPS @ PHILLIPS, LLP
                                            SHARI MULROONEY WOLLMAN
    10                                      JESSICA A. WOOD
    11
                                            By:/s/ Jessica A. Wood
    12                                          Shari Mulrooney Wollman
                                                Jessica A. Wood
    13                                      Attorneys for Plaintiff WEMASH, INC.
    14

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                                                         JOINT STATEMENT OF MEET AND CONFER
                                                           EFFORTS RE DEFENDANTS’ MOTION TO
                                                                             DISMISS COMPLAINT
                                                                  Case No. 2:15-CV-8719 JFW (JPRx)
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                 EXHIBIT 1
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      Pillsbury Winthrop Shaw Pittman LLP
      725 South Figueroa Street, Suite 2800 | Los Angeles, CA 90017-5406 | tel 213.488.7100 | fax 213.629.1033



                                                                                                      Bobby Ghajar
                                                                                                  tel: 213.488.7551
                                                                                     bobby.ghajar@pillsburylaw.com

      December 17, 2015


      Via Email and First Class Mail


      Shari Mulrooney Wollman
      Jessica Wood
      Manatt, Phelps & Phillips, LLP
      11355 W. Olympic Blvd
      Los Angeles, CA 90064


               Re:       WeMash, Inc. v. WeMesh Inc., Case 2:15-cv-08719-JFW-JPR

      Dear Ms. Mulrooney Wollman:

              We write to set up a time to meet and confer pursuant to Local Rule 7.3 and Judge
      Walter’s Standing Order regarding a motion to dismiss that we intend to file on behalf of
      Defendants WeMesh, Inc. (“WeMesh”) and Dr. Michael Pazaratz (“Dr. Pazaratz”)
      (collectively, “Defendants”). Under the Judge’s Standing Order, we must meet and confer
      by Monday, December 21 and file a joint statement by Thursday. If you are unable to meet
      those deadlines, please let us know so we can consider further extending out Defendants’
      responsive deadline to give the parties enough time to complete the process.

              As you are aware from prior communications, Defendants believe there are serious
      issues on the face of the complaint that warrant its dismissal. We briefly summarize those
      issues to give you a better understanding of the bases of Defendants’ intended motion prior
      to our meet and confer.

              First, Plaintiff’s Lanham Act, state unfair competition, and common law unfair
      competition claims all fail to properly state a claim. From our reading of the complaint, all
      three causes of action are predicated on Plaintiff’s claim that Defendants’ WEMESH
      trademark infringes Plaintiff’s alleged WEMASH and WEMES trademarks. See
      Complaint at ¶¶46-48 (as to the Lanham Act claim, Plaintiff alleged for example that
      “WeMesh’s activities have caused and, unless enjoined by this Court, will continue to
      cause a likelihood of confusion and deception…”); ¶¶70-71 (as to the state unfair


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      competition claim, Plaintiff alleged, “Defendants engaged in conduct…to confuse and
      deceive consumers by creating the false and misleading impression that Defendant
      WeMesh’s products are manufactured, produced, distributed, endorsed, sponsored,
      approved and/or licensed by WeMash, or are associated or connection with WeMash”);
      ¶¶76-77 (as to the common law unfair competition claim, Plaintiff alleged, “Defendants’
      conduct alleged herein infringes WeMash’s WEMASH and WEMES trademark rights and
      constituted passing off and common law unfair competition.”).

              Accordingly, all three claims must properly allege the same two elements: 1)
      ownership of valid, prior trademark rights; and 2) likelihood of confusion. Here, Plaintiff
      has failed to allege sufficient facts under Iqbal and Twombly regarding the first element.
      Because WeMesh owns a federal trademark registration, and Plaintiff does not, Plaintiff
      has the burden to demonstrate common law trademark rights in the WEMASH mark that
      are prior in time to Defendants’ rights. To do so, the law requires Plaintiff to allege (and
      prove) that it has used the WEMASH mark “in a way sufficiently public to identify or
      distinguish the marked goods in an appropriate segment of the public mind as those of the
      adopter of the mark” prior to WeMesh’s priority date. See Chance v. Pac-Tel Teletrac Inc.,
      242 F.3d 1151, 1159 (9th Cir. 2001).

              Among other indicative facts, WeMash applied to register the WEMASH mark in
      June 2014 on an intent-to-use basis and took an extension of time in June 2015 to file a
      Statement of Use, indicating that it had not made trademark use of the mark as of that date.
      It similarly applied to register the WEMES mark on June 18, 2015 on an intent-to-use
      basis. WeMash’s Facebook and Instagram pages indicate that it launched its app only three
      months ago, on September 16, 2015. Your client’s www.wemash.com domain name
      provided only a landing page with the name of the company, and no information as to the
      nature of any mobile apps for sale or any services it offered under the WEMASH or
      WEMES marks as of at least May 2015. None of this is indicative of any use, let alone use
      sufficient to establish common law trademark rights, prior to May 2014 (WeMesh’s
      undisputed constructive priority date).

             The Complaint alleges only the following activities in support of its claim of
      trademark use, which purportedly date back to 2009:

              •    WeMash uses the WeMash Domain to communicate with its customers and
                   advertise positions available with the company.
              •    Meetings with investors and others to develop WeMash Goods/Services that are
                   marketed, offered and/or distributed under the WEMASH mark.
              •    WeMash used the WEMASH mark in connection with the development and
                   promotion of an extensive library collection of video content owned and
                   controlled by the WeMash principals, for use on or in connection with web

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                   platforms, apps, software and/or related multimedia and entertainment products
                   and services.
              •    WeMash has continued to expand the products and services offered under the
                   WEMASH mark, expanding its portfolio to include, without limitation, various
                   entertainment services, videos and information in the fields of music, sports and
                   entertainment over the Internet…

              Based on the allegations of the Complaint, these examples are insufficient to
      demonstrate trademark use or establish common-law priority. For example, preparing to
      offer services under a mark is not the same as actually offering services under that mark.

              Even if Plaintiff could argue that these allegations are sufficient to demonstrate
      trademark use, it would need to establish the geographic areas in which WeMash has
      established sufficient market penetration in order to bestow priority over WeMesh. There
      is nothing in the complaint that addresses sales, app download location, trade shows,
      geographic expanse, or market penetration – or any other activities that would create an
      association between the WEMASH mark and your client in the minds of consumers. The
      Complaint appears to tout the quality of reviews for the “Wemes” app, but as you are likely
      aware, the app – as of the date of the Complaint – only had 16 reviews (and as of today, has
      only 24 – see below). The Complaint fails to allege facts relating to market penetration in
      any geographic area.




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              Second, given that Plaintiff cannot maintain its trademark infringement claims, it
      has no basis to assert a claim for cancellation of the WEMESH registration. Accordingly,
      that claim should also be dismissed.

               Third, Plaintiff has not alleged any facts indicating that Dr. Pazaratz has done
      anything that would make him individually liable for the alleged conduct, or that personal
      jurisdiction is proper in this district against Dr. Pazaratz, who lives and works in Canada.
      The Complaint includes the conclusory allegations that “Defendants solicit, transact and do
      business in California and this District, and a substantial part of the wrongful acts or
      omissions complained of occurred in this District. Defendants purposefully directed their
      activities toward WeMash in this District when they engaged in the acts complained of

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      herein, and a substantial part of the harm was felt in this District.” (Complaint at ¶5). This
      does not distinguish Dr. Pazaratz from WeMesh and is insufficient to form a basis for
      personal jurisdiction. When we asked you for the basis of your naming of Dr. Pazaratz,
      individually, your only answer in your December 2 letter was that “Mr. Pazaratz has been
      named as a defendant with respect to his ownership of certain of the domains at issue. If he
      assigns those domains to WeMesh we may be able to discuss dismissing him from the
      complaint.” The fact that he is the company’s administrative contact for the domain names
      wemesh.com, wemesh.sh, wemesh.tv, wemesh.video, wemesh.me, and wemesh.co is
      hardly sufficient to name his as a defendant in a lawsuit in Los Angeles, California.

              Also, when asked why you sued both Defendants in this district, your response
      (which is not in the Complaint) was that “your clients targeted WeMash when they contacted
      the social media platforms with an intent to disrupt its business operations, and thereby
      subjected themselves to the jurisdiction of our courts.” Offering an app through app stores
      based in Northern California, and “contacting” those app stores is not a proper basis to sue
      WeMesh in Southern California.

              Fourth, as also raised in our November 23 letter, Plaintiff’s cybersquatting cause of
      action fails for a number of reasons:

          a) Without sufficient facts relating to trademark priority (see above), Plaintiff cannot
             sustain a claim for cybersquatting.

          b) Cybersquatting requires bad faith registration of a mark identical or confusingly
             similar to “a mark that is distinctive at the time of registration of the domain name.”
             15 U.S.C. 1125(d)(1)(A)(ii)(I). Plaintiff alleges that the following seven domain
             names were registered by Defendants with a “bad faith intent to profit from” the
             purported WEMASH and/or WEMES trademarks: www.weme.sh,
             www.wemesh.com, www.wemesh.me, www.wemesh.tv, www.wemesh.com,
             www.wemesh.video, and www.wemesh.ca. But Plaintiff has not alleged any
             specific facts indicating such bad faith intent to profit. Nor has Plaintiff even
             alleged that Defendants knew of Plaintiff’s purported trademark use and trademark
             rights at the time WeMesh applied to register the WEMESH mark or when
             WeMesh first used the WEMESH mark. The Complaint’s conclusory allegations of
             “bad faith intent to profit” are insufficient to maintain a claim of cybersquatting.

              Indeed, you allege not that Defendants registered those domain names in bad faith,
              but that they are using the domains to offer their own services. Moreover, your
              client’s app was launched on the app store in September 2015 – nine months after
              WeMesh’s app was available. This is insufficient to support a claim for
              cybersquatting.


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      December 17, 2015
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          c) Plaintiff cannot maintain a cybersquatting cause of action against country code
             gTLDs such as .sh and .ca, which are registered in St. Helena and Canada,
             respectively. Those domain names are governed by the laws and regulations of
             other jurisdictions. Further, your client cannot possibly claim that it has prior rights
             to the WEMASH mark in Canada, which is where WeMesh is based, and is
             reflected in its ability to apply for a .ca domain name (which Plaintiff cannot).
             When asked about these claims, you stated in your December 2 letter, “We choose
             not to engage in discussions regarding our legal claims at this time. However, we note
             that each of the domains you list contain variations of the WeMash trademarks, or
             colorable imitations thereof, as to which your clients have already admitted a likelihood
             of confusion.”

          d) Plaintiff cannot maintain its claims absent allegations that the domains in question
             were originally registered with a bad faith intent to profit from Plaintiff’s alleged
             mark. As you should have been aware prior to filing the complaint, the
             wemesh.com domain was originally registered in 2002, prior to any alleged first
             “use” by Plaintiff. Accordingly, as a matter of Ninth Circuit law, it could not have
             been registered with a bad faith intent to profit, as required by the ACPA. See
             GoPets Ltd. v. Hise, 657 F.3d 1024, 1032 (9th Cir. 2011) (“Because Edward Hise
             registered gopets.com in 1999, long before GoPets Ltd. registered its service mark,
             Digital Overture's re-registration and continued ownership of gopets.com does not
             violate § 1125(d)(1)). The same is true for the domains registered after Plaintiff’s
             alleged “first use.”

              Please let us know your availability to meet and confer by December 21st on these
      issues. Nothing herein is intended to limit or waive the issues or arguments that are
      applicable to Plaintiff’s Complaint.

                                                     Very truly yours,




                                                     Bobby Ghajar




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                 EXHIBIT 2
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Peterson, Marcus D.

From:                           Peterson, Marcus D.
Sent:                           Thursday, December 24, 2015 1:38 PM
To:                             'Wood, Jessica'
Cc:                             Ghajar, Bobby; De La Rosa, Inga L.; Wollman, Shari
Subject:                        RE: WeMash, Inc. vs. WeMesh Inc. - Meet and Confer


Jessica,

Your email contains a number of misrepresentations and circular arguments that I will not address here because
there seems little to gain from it. We have had a number of calls and emails back and forth without coming any
closer to an agreement on even the most basic issues.

You claim that we are forcing you to work on Christmas Eve and that we insist on filing our motion on
Monday. This could not be further from the truth. Your posturing is belied by the simple, irrefutable
chronology:

   1) We met and conferred on Monday.
   2) On Tuesday, you emailed us suggesting that Defendants take an extra week extension to file a
      responsive pleading so that you could discuss with your client the issues we addressed during the meet
      and confer call on Monday. You asked us to prepare a joint stipulation to that effect. We did so almost
      immediately.
   3) Yesterday, in the early evening, you stated you needed to “rethink” the stipulation since we did not
      agree with your proposed time for a Rule 26(f) conference. You said we were at an “impasse” unless we
      would agree to hold the conference next week.
   4) When we stated we could not agree to hold the conference next week for a number of reasons, given that
      we did not know which claims would continue to be asserted, given that those topics involve a
      discussion with our clients who have limited availability because of the holidays, and given that we
      would need to prepare to discuss of the topics, you reneged on the agreement to extend Defendants’
      responsive deadline.
   5) After we indicated that your actions would force us to go to the Court, you then offered a two-day
      extension to the responsive deadline (i.e. from December 28 to December 30), which we exposed as a
      transparent attempt to give yourselves more time to oppose Defendants’ motion to dismiss, and which
      also indicated that you actually did not need more time to discuss the issues with your client because you
      had no intent to meaningfully continue the meet and confer process or to actually amend the Complaint
      (which is confirmed in your email below).
   6) We declined to participate in your gamesmanship, but continued to remain open to the further seven-day
      extension per the stipulation you asked us to prepare. You ignored that invitation.
   7) As it was already in the evening when you told us you were reneging on the one-week extension, we
      immediately began to finalize the report. This also required interrupting Mr. Ghajar’s family vacation to
      get his input on a Joint Report we did not believe (until yesterday evening) we would need to file in
      view of your offer of a one-week extension.
   8) We sent you the Joint Report hours later that same evening.

Your conduct is causing both of us to work on this on Christmas Eve (and the fact that we sent our portion of
the Joint Report within five hours of your decision to renege on the stipulation is a testament to our night and
holiday being disrupted). We prepared, and would have filed, the stipulation providing the seven-day
extension. You chose to renege on the stipulation for an arbitrary reason. We were both then forced to prepare
                                                        1
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our portions of the Joint Report; actually, you should have prepared yours without waiting for our portion,
especially because you confirm below Plaintiff is not amending its complaint, and because during the call, you
took no position as to whether Plaintiff would amend. There seems little else to say.

We do not intend to remove anything from the joint report. Nothing in it is inaccurate. The background and
exhibits give the Court context for the current status of the parties’ meet and confer efforts (for example,
explaining to the Court why you were not prepared to take any position on the issues Monday, but are now able
to do so). If there is a particular sentence in the joint section that you would have us move to a Defendants-
dedicated section, we will consider that. But we see no basis for you to disagree with the way we have
characterized our own motion, and certainly, you said little during the call, or after the call, that suggested you
were prepared to discuss the law or the particular allegations in the complaint.

We agree that the Court will not want to see such disagreement between counsel. You have unilaterally chosen
to engage in such bickering by taking unreasonable positions on simple extensions and refusing to offer any
explanation for why you will not informally provide priority evidence without a “mutual exchange” despite
WeMesh’s trademark registration and constructive priority date. You keep claiming you want to resolve the
matter and are acting in good faith to attempt such resolution. But none of your actions to date – from antics
like serving our clients on Thanksgiving and then fighting us for an extension of time to respond to the
complaint beyond one week, thus forcing all of us to work over the holidays – are consistent with your self-
professed “good faith” and reasonableness. And your client’s unwillingness to explain or support the bases of
the positions it took in its pleading are further indication otherwise.

As to your attempt to unilaterally set a Rule 26(c) conference for Monday, that is not the way it works. As
indicated several times, we will not be prepared to conduct a Rule 26(f) conference at that time, just because
you happen to be available. We have already explained why, but you have ignored our explanation. We
offered a perfectly acceptable time, after the holidays, to conduct the meet and confer. You have yet to explain
why that date or time is unacceptable.

We look forward to receiving your portion of the joint report promptly. As we will need to finalize and file the
report, we will start doing so at 3:30 to ensure it is timely filed.

Regards,

Marcus D. Peterson | Senior Associate
Pillsbury Winthrop Shaw Pittman LLP
725 South Figueroa Street, Suite 2800 | Los Angeles, CA 90017-5406
t 213.488.7410 | f 213.629.1033
marcus.peterson@pillsburylaw.com | website bio




From: Wood, Jessica [mailto:JWood@manatt.com]
Sent: Thursday, December 24, 2015 11:31 AM
To: Peterson, Marcus D.
Cc: Ghajar, Bobby; De La Rosa, Inga L.; Wollman, Shari
Subject: RE: WeMash, Inc. vs. WeMesh Inc. - Meet and Confer


                                                         2
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Dear Marcus,

We received Defendants’ portion of the Joint Statement that you sent last night at 11:38pm and we will prepare our
portion per the Court’s rules. We note that your insistence we file today now requires me to work on Christmas Eve
when I had planned to now be traveling to meet my family, and that you have compounded this by serving your portion
in the middle of the night, thus severely cutting short our time to respond. We further note that your insistence upon
filing your motion on Monday, though we had offered to extend that deadline, will now require us to oppose your
motion over the New Year’s holiday. We will certainly inform the court of this shocking lack of professionalism.

We further note that Defendants’ portion of the stipulation appears to contain several unrelated vitriolic attacks on
Plaintiff, needless bickering, and attaches email correspondence between the parties which has no bearing on the
parties’ evaluation of the issues. Such references are inappropriate in a joint statement and contrary to the purpose and
letter of the Court’s Order requiring the parties to submit a statement focusing on the evaluation of the issues.

In fact, as you can see, the purpose of the Court’s Rule is to meet and confer on the merits of the case. See Standing
Order, November 9, 2015, (Docket No. 9) (“Standing Order”), at p. 6 (“Among other things, Local Rule 7-3 requires
counsel to engage in a pre-filing conference ‘to discuss thoroughly, preferably in person, the substance of the
contemplated motion and any potential resolution.’ Counsel should discuss the issues with sufficient detail so that if a
motion is still necessary, the briefing may be directed to those substantive issues requiring resolution by the
Court.”). Further, the purpose of the joint statement is to inform the Court on the discussions and of outstanding
issues. See id, at p. 8 (“Within three days of the conference, counsel shall file a joint statement indicating the date,
duration, and communication method of the conference and the participants in the conference. In addition, the joint
statement shall detail the issues discussed and resolved during the conference and the issues remaining.”). It is plainly a
violation of the Court’s Order to improperly misuse the joint statement to air Defendants’ grievances in this manner.

Accordingly, please confirm that you will remove all such references and attachments that do not pertain to the parties’
evaluation of the issues. If you still feel the need to submit such materials to the Court, please do so in a separate
filing. If you are not inclined to remove those references, we will have to respond. However, we really hope you will
take them out because in our experience, the Court has a very low tolerance for bickering amongst counsel and we do
not want to annoy the Judge by engaging in such behavior.

Further, your correspondence below plainly misstates the events of the past few days. As you are well aware, Plaintiff
has made extensive efforts over the past three weeks to help Defendants avoid bringing their motion to dismiss
including at least six good faith offers to conduct a mutual exchange of evidence that will likely resolve all, or at least
most, of the issues in Defendants’ motion, and offering Defendants at least five separate extensions to file their motion
so the parties can attempt to resolve the issues.

Despite Plaintiff’s best efforts to avoid needless motion practice, and attempts to focus on the merits and an early
resolution of the issues, Defendants refused Plaintiff’s offers and extensions without explanation, have now
opportunistically insisted on filing your motion and joint stipulation over the holidays, mocked Plaintiff’s efforts to
permit them to avoid bringing their motion, and continue to refuse to cooperate and act with untoward aggression.

Defendants’ latest refusal to conduct the Rule 26(f) meeting on December 28 is just further indicative of Defendants’
mockery. In contrast to Plaintiff’s repeated good faith offers to conduct an evidence exchange and continue
Defendants’ dates, Defendants have declined to act reciprocally in good faith by, on the one hand, demanding that
Plaintiff meet with them Monday December 28 on Defendants’ own motion, and at the same time refusing to meet with
Plaintiffs the same day for the Rule 26(f) conference, or at any time prior to the last possible minute, a week later, for no
good reason.

Moreover, Plaintiff disagrees that we have had Defendants’ positions on their motion “for weeks.” Defendants’ counsel
did not even know basic facts about their own clients during the meet and confer, and as a result, Plaintiff still does not
understand how they are moving based on the incorrect information they stated at the time.

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In any event, as you have insisted upon filing the Joint Stipulation today, and have rejected our offer to extend your
deadline to file the motion, we can now confirm that no further meet and confer on your motion is necessary and you
should proceed to file it as you deem necessary. As you have already confirmed your availability for a call on your
motion Monday, we intend to now use that time instead to conduct our Rule 26 conference. Unless you let us know if
there another time that is better for you that day, we will call you at 11:00 am to conduct the conference. If you wish to
propose a different time that day please let us know.

Alternatively, and despite your continued, needless aggression and hostility, we remain willing to discuss alternatives to
resolve this dispute. Plaintiff remains willing to provide you with all of its evidence of first use and cannot understand
why you refuse to do the same. Certainly you must have had some good faith basis for sending three separate take
down notices. We again invite you to follow Judge Walter's directive (see Standing Order, at p. 6 (“Counsel shall begin to
actively conduct discovery before the Fed.R.Civ.P. 26(f) conference because at the Scheduling Conference the Court will
impose tight deadlines to complete discovery.”) and engage in an early evidence exchange, rather than waste the court's
time with a frivolous motion.

Best,
Jessica

Jessica Wood
Associate
_______________________

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From: Peterson, Marcus D. [mailto:marcus.peterson@pillsburylaw.com]
Sent: Wednesday, December 23, 2015 11:38 PM
To: Wood, Jessica
Cc: Ghajar, Bobby; De La Rosa, Inga L.; Wollman, Shari
Subject: RE: WeMash, Inc. vs. WeMesh Inc. - Meet and Confer

Jessica,

Further to my email below, and pursuant to the Court’s Standing Order, attached is the draft Joint Report, which
was necessitated this evening after you reneged on an agreement that would have given Defendants until
January 4th to file their response to the Complaint. The report provides Defendants’ perspective on the issues
discussed during the meet and confer, and briefly describes the bases of Defendants’ planned motion. You have
had our position on these issues for weeks.

The Court requires the parties to file a Joint Report within three days of the meet and confer, which is
tomorrow. I would like to spend the holiday with my family, so while you have completely disrupted this
afternoon and evening because you decided to renege on your agreement, I expect that you will refrain from
further delays tomorrow so that we can all enjoy the holiday.

I would appreciate your sending me your section as early as possible. I will file it with the Court at 4pm if I do
not receive your section before then.
                                                                                           4
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Marcus

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From: Peterson, Marcus D.
Sent: Wednesday, December 23, 2015 8:14 PM
To: 'JWood@manatt.com'
Cc: Ghajar, Bobby; De La Rosa, Inga L.; 'swollman@manatt.com'
Subject: Re: WeMash, Inc. vs. WeMesh Inc. - Meet and Confer

Jessica,

It is ironic that you are quick to accuse us of "bad faith" or "gamesmanship" and to label your own actions as "good
faith" and "reasonable." Yesterday, you asked us to prepare a stipulation to extend Defendants' deadline to respond to
the complaint until January 4, which we did. This evening, the evening before Christmas Eve, you are refusing to sign
that stipulation and are now agreeing to only extend Defendants' deadline by two days. The only reason you have given
for this change of position is that we stated that we are not in a position to conduct the Rule 26(f) conference until
January 4. You claim that you are not conditioning agreement to the stipulation you proposed on the timing of the Rule
26(f) conference, but have offered no other explanation for your 11th-hour change of position.

Your new proposal seems designed to grant Defendants two extra days to respond to the Complaint while giving Plaintiff
five extra days to oppose a Motion to Dismiss. This suggests you already know your client's position and will not be
amending the Complaint. While we are open to an extension that would allow you to discuss amendment with your
client and provide a full report to Judge Walter, your proposal does not appear designed to allow that and instead only
manipulates Defendants and the Court's procedures. We do not wish to be a party to such activity.

Accordingly, we are not going to prepare another stipulation a day after preparing a stipulation at your request
extending Defendants' response deadline to January 4. If you agree to the original stipulation, please sign and send it to
us and we will get it on file.

Otherwise, tonight we will send you our portion of the Joint Report required by Judge Walter. We expect that you will be
able to provide your portion by tomorrow, as your position is not impacted by ours. We will be filing by 4:00 pm and will
have no choice but to file unilaterally if we do not have your portion in time.

We look forward to your prompt response.

Regards,

Marcus



                                                             5
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From: Wood, Jessica [mailto:JWood@manatt.com]
Sent: Wednesday, December 23, 2015 06:15 PM Pacific Standard Time
To: Peterson, Marcus D.
Cc: Ghajar, Bobby; De La Rosa, Inga L.; Wollman, Shari <swollman@manatt.com>
Subject: RE: WeMash, Inc. vs. WeMesh Inc. - Meet and Confer

Dear Marcus,

Your continued insistence below and during our call today that we are attempting to condition the additional week
extension on agreement on the timing of a Rule 26(f) conference, is completely inaccurate and misplaced. Rather, we
simply questioned whether you were acting in good faith by refusing to hold the required Rule 26 meeting until after
4pm on the very last possible day. There is no excuse for refusing to meet with us for a whole week, particularly as you
will have our client’s positions on the issues you raised in our meet and confer by early next week. Further, on our call,
you refused to even reconsider whether you would meet for Rule 26 at any other time. Instead you again threatened to
go in ex parte or unilaterally file the required joint stipulation on our meet and confer on Christmas Eve.

As previously promised, we are giving further consideration to the issues you raised during our meet and confer. That
said, despite your gamesmanship, we would like to again extend a courtesy to Defendants in good faith, so that both
parties have relief to file the joint stipulation in light of the holidays. Accordingly, we will agree to give Defendants an
additional few days extension to respond to the complaint until Wednesday, December 30. If you agree to this
extension, please prepare the stipulation for our review.

Best,
Jessica

Jessica Wood
Associate
_______________________

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From: Peterson, Marcus D. [mailto:marcus.peterson@pillsburylaw.com]
Sent: Wednesday, December 23, 2015 5:08 PM
To: Wood, Jessica
Cc: Wollman, Shari; Ghajar, Bobby; De La Rosa, Inga L.
Subject: RE: WeMash, Inc. vs. WeMesh Inc. - Meet and Confer

Jessica,

Why did you not suggest this was going to be your position when we spoke half an hour ago? You also did not
suggest yesterday when recommending the additional week extension that it would be conditioned on
agreement on the timing of a Rule 26(f) conference. If you had, we could have considered moving ex parte
yesterday or moving forward with the motion to dismiss.

We do not see any relation between concluding the meet and confer call, in which you are going to apprise us of
your client’s willingness to amend its Complaint, and a Rule 26(f) conference that requires the discussion of
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many topics in anticipation of preparing a joint discovery plan. Discussing all of the Rule 26 and L.R. 26-1
topics, when we are unsure as to operative allegations in the case and when we will have to discuss those topics
with our client over a holiday week, is not feasible. Nor is it reasonable of you to demand a 26(f) conference on
your schedule in exchange for filing a further stipulation to extend the responsive pleading deadline that you
suggested. If you plan not to agree to the additional stipulated week, which was your suggestion, please let us
know now so we can file an ex parte request with the Court tonight. You can then explain your position to
Judge Walter.

We look forward to your immediate response.

Regards,

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From: Wood, Jessica [mailto:JWood@manatt.com]
Sent: Wednesday, December 23, 2015 4:41 PM
To: Peterson, Marcus D.
Cc: Ghajar, Bobby; De La Rosa, Inga L.; Wollman, Shari
Subject: RE: WeMash, Inc. vs. WeMesh Inc. - Meet and Confer

Dear Marcus,

Please clarify as to why you are unavailable to conduct the parties’ joint Rule 26 conference as requested on December
28 but you are available for a continued meet and confer for Defendants’ own motion that day.

We have acted in good faith by agreeing to an additional extension for Defendants’ responses to January 4 as the parties
are unable to file the joint stipulation due to the holidays. We assumed you would act in good faith in return. However,
we are particularly concerned that you refuse to meet with us for Rule 26 on December 28, with no explanation
whatsoever, especially given the fact that we have agreed to another extension for Defendants’ responses, which gives
you time to prepare for the Rule 26 meeting instead of drafting your clients’ motions.

If you are not inclined to meet with us for Rule 26 until after 4pm on the very last possible day as you suggest below,
please let us know as we will have to reconsider our position. I’m in the office now if you would like to call me to discuss
any of the foregoing.

Best,
Jessica


Jessica Wood
Associate
_______________________

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From: Peterson, Marcus D. [mailto:marcus.peterson@pillsburylaw.com]
Sent: Wednesday, December 23, 2015 3:50 PM
To: Wood, Jessica; Ghajar, Bobby
Cc: De La Rosa, Inga L.; Wollman, Shari
Subject: RE: WeMash, Inc. vs. WeMesh Inc. - Meet and Confer

Jessica,

I am following up on the below email. Please let us know whether we can file the stipulation.

Thank you,

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From: Peterson, Marcus D.
Sent: Tuesday, December 22, 2015 4:47 PM
To: 'Wood, Jessica'; Ghajar, Bobby
Cc: De La Rosa, Inga L.; Wollman, Shari
Subject: RE: WeMash, Inc. vs. WeMesh Inc. - Meet and Confer

Jessica,

Defendants will agree to a further one-week extension of the deadline to file a responsive pleading to the
complaint, provided we agree (1) to continue our meet and confer call on Defendants’ Motion to Dismiss on
Monday, December 28; (2) that we will have Plaintiff’s position as to whether it will amend its complaint that
day; and (3) that the parties will file the joint report to Judge Walter required in his Standing Order by
December 31. Please confirm that we are on the same page.

At your request, we prepared the attached joint stipulation to further extend the response deadline. Please
confirm that it is acceptable and that we may insert your electronic signature. We will then file it tonight or first
thing tomorrow.

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Finally, we will not be in a position to conduct the Rule 26(f) conference next week. As the deadline for the
conference is January 4, please let us know your availability for a call after 4:00 pm that day.

Regards,

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From: Wood, Jessica [mailto:JWood@manatt.com]
Sent: Tuesday, December 22, 2015 1:46 PM
To: Ghajar, Bobby; Peterson, Marcus D.
Cc: De La Rosa, Inga L.; Wollman, Shari
Subject: RE: WeMash, Inc. vs. WeMesh Inc. - Meet and Confer

Dear Bobby and Marcus,

I am writing to follow up on our call yesterday. While we still disagree that the Complaint fails to state facts that support
Plaintiff’s claims, we will give further consideration to the issues you raised during our call yesterday. However, due to
the holidays, people are traveling this week and I have not had a chance to talk to everyone involved yet.

I understand the Judge requires us to get a joint stipulation on file before Defendants file their motion. However, due to
the Court holidays this week, I believe that means the stipulation needs to be filed on Monday, December 28. However,
it seems to make little sense to file the joint stipulation on the same day as Defendants’ motion.

Accordingly, we will agree to extend your clients’ deadline to respond to the complaint another week, to January 4. This
will also give us time to confer with our client and get back to you on Monday. Accordingly, please prepare another
short stipulation to extend the time to respond. No proposed order appears necessary.

In addition, please confirm your availability on Monday, December 28 to meet for the parties’ Rule 26 conference.

Best,
Jessica

Jessica Wood
Associate
_______________________

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From: Peterson, Marcus D. [mailto:marcus.peterson@pillsburylaw.com]
Sent: Monday, December 21, 2015 2:06 PM
To: Wood, Jessica
Cc: Ghajar, Bobby; De La Rosa, Inga L.; Wollman, Shari
Subject: RE: WeMash, Inc. vs. WeMesh Inc. - Meet and Confer

Jessica,

Here is the dial-in information:

Number: 1-866-794-0787
Passcode: 6989500

Marcus

Marcus D. Peterson | Senior Associate
Pillsbury Winthrop Shaw Pittman LLP
725 South Figueroa Street, Suite 2800 | Los Angeles, CA 90017-5406
t 213.488.7410 | f 213.629.1033
marcus.peterson@pillsburylaw.com | website bio




From: Wood, Jessica [mailto:JWood@manatt.com]
Sent: Monday, December 21, 2015 1:54 PM
To: Peterson, Marcus D.
Cc: Ghajar, Bobby; De La Rosa, Inga L.; Wollman, Shari
Subject: RE: WeMash, Inc. vs. WeMesh Inc. - Meet and Confer

Marcus,

I am available at 5:00pm today for your requested meet and confer call. Please send me the call-in details at your
earliest convenience.

Best,
Jessica

Jessica Wood
Associate
_______________________

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                                                                                          10
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From: Peterson, Marcus D. [mailto:marcus.peterson@pillsburylaw.com]
Sent: Monday, December 21, 2015 11:11 AM
To: Wood, Jessica; Ghajar, Bobby
Cc: De La Rosa, Inga L.; Wollman, Shari
Subject: RE: WeMash, Inc. vs. WeMesh Inc. - Meet and Confer

Jessica,

We have each other’s position on the “mutual exchange” and do not believe continuing to revisit the issue in
emails will be fruitful.

Please let us know what time after 5:00 p.m. today you are available for a call, and advise who from your office
will participate. We will circulate dial-in information. We also expect that you will be prepared to discuss all
of the issues raised in our letter, including the jurisdiction issue and cybersquatting claim.

Regards,

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From: Wood, Jessica [mailto:JWood@manatt.com]
Sent: Monday, December 21, 2015 10:33 AM
To: Ghajar, Bobby
Cc: Peterson, Marcus D.; De La Rosa, Inga L.; Wollman, Shari
Subject: RE: WeMash, Inc. vs. WeMesh Inc. - Meet and Confer

Dear Bobby,

We disagree that the Complaint fails to state facts that support Plaintiff’s claims. Indeed, Plaintiff has stated proper
claims in its Complaint which, as you are well aware, was filed in response to your clients’ social media attacks against
WeMash—attacks which conveniently required little or no evidence in support of WeMesh’s meritless claims.

Further, you completely ignore the several reasons why a mutual exchange of priority evidence in this this case is a good
idea that are set forth in our December 18 correspondence below, not the least of which is to save your own client
considerable resources and expense in unnecessary motion practice. In contrast, the sole reason you have provided for
your client’s unwillingness to mutually exchange evidence—that Plaintiff has the initial burden of proof on its claims—is
irrelevant, not the law, and contrary to Judge’s Walter’s November 9 Standing Order.

In any event, if you still want to bring your motion instead of providing evidence which your clients will be required to
share soon in this case, we will be available to meet and confer today. However, I already have meeting scheduled for
11:00am. Marcus is copied here to suggest another time.
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Best,
Jessica


Jessica Wood
Associate
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From: Ghajar, Bobby [mailto:bobby.ghajar@pillsburylaw.com]
Sent: Monday, December 21, 2015 8:46 AM
To: Wood, Jessica
Cc: Peterson, Marcus D.; De La Rosa, Inga L.; Wollman, Shari
Subject: RE: WeMash, Inc. vs. WeMesh Inc. - Meet and Confer

Jessica,

We are responding to your letter sent at 7:34pm Friday evening.

Apart from ignoring the multiple bases of Defendants' planned motion, you continue to insist on a “mutual
exchange” without explaining why it makes sense under the circumstances. Your client WeMash has sued
WeMesh, which owns a federal registration providing it with at least a May 2014 priority date. In order to
prevail on its claims, WeMash must prove (and properly allege) nationwide trademark use of WEMASH and
WEMES before Defendant's priority date. Your “25 pages” of “Defendants’ wrongful acts” do not establish
prior common law trademark use. If you have facts and evidence that establish a basis for prior trademark use,
we would be very interested to receive those facts and evidence before filing our motion. This is not about
withholding evidence Plaintiff may acquire in discovery. This is about Plaintiff stating a proper claim in a
complaint it chose to file against our client - if it can.

Accordingly, Defendants plan to move forward with their motion on all grounds stated in my letter. Although I
am on a family vacation with limited cell reception, I can be available at 11 a.m. to discuss your position, and
move forward with the joint stipulation required by the court. Please confirm. If this time does not work, it will
need to be later in the afternoon; please coordinate with Mr. Peterson.

When we meet and confer, we trust you will be in a position to articulate why you believe Plaintiff’s allegations
are sufficient.

In the meantime, Defendants reserve their rights.

Regards,


Bobby Ghajar
                                                                                          12
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-------- Original message --------
From: "Wood, Jessica" <JWood@manatt.com>
Date: 12/18/2015 7:34 PM (GMT-08:00)
To: "Ghajar, Bobby" <bobby.ghajar@pillsburylaw.com>
Cc: "Peterson, Marcus D." <marcus.peterson@pillsburylaw.com>, "De La Rosa, Inga L."
<inga.delarosa@pillsburylaw.com>, "Wollman, Shari" <swollman@manatt.com>
Subject: RE: WeMash, Inc. vs. WeMesh Inc. - Meet and Confer

Dear Bobby,



We are in receipt of your December 17 correspondence notifying us of Defendants WeMesh, Inc.’s and Mr.
Pazaratz’s (“Defendants”) plans to file a motion to dismiss. First, it is absurd for you to contend that WeMash’s
complaint—which is 25 pages long and has multiple exhibits—fails to set forth sufficient details of Defendants’
wrongful acts. Further, you are well aware of Defendants’ aggressive attacks targeting WeMash that were
directed into this forum, which occupy several pages of the complaint, and support jurisdiction here.



In any event, as you are likely well aware, it generally makes little sense to move for dismissal under Rule 12,
as the Court will simply grant leave to amend even if the motion is granted. In fact, all your motion will likely
accomplish is to burden the Court, increase the costs for both parties, and cause some delay. We can only
presume that bringing this motion, which is utterly devoid of any merit, is yet another tactic to avoid
exchanging your clients’ evidence of first use. Such dilatory tactics are not well taken here, particularly as we
have repeatedly requested that the parties undertake an early reciprocal exchange of priority evidence.



In any event, as we have stressed before, we remain interested in resolving this case without the need for both
sides wasting time and resources on motion practice that can likely be avoided by the early reciprocal exchange
of priority evidence. Accordingly, to accomplish this stated goal, we would like to offer your clients yet
another opportunity to avoid incurring unnecessary fees by filing their baseless motion.



To that end, we would like to offer Defendants the maximum 30 day extension of time to respond to the
complaint, until January 19, 2016, provided that Defendants agree to mutually exchange priority evidence
before that deadline (or provide written confirmation that they intend to rely on their constructive priority
date). We would like to again invite you and your clients to our offices to exchange priority evidence. As you
know, your clients will soon need to produce this evidence in response to discovery anyway. The proposal we
are offering will provide the parties with the opportunity to candidly assess their positions, and may well lead to
a resolution of the case without the need for any motion practice.



If you reject this proposal, you may proceed to prepare your motion and file it on December 28. Of course, we
will obtain the evidence we seek regardless, so it is your choice whether to waste time and your clients’

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resources with needless motion practice or instead focus on a potential resolution. We will be available to meet
and confer with you on Monday should you choose to proceed with your current course of action.

Best,

Jessica



Jessica Wood


Associate


_______________________




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From: De La Rosa, Inga L. [mailto:inga.delarosa@pillsburylaw.com]
Sent: Thursday, December 17, 2015 4:07 PM
To: Wollman, Shari
Cc: Wood, Jessica; Ghajar, Bobby; Peterson, Marcus D.; De La Rosa, Inga L.
Subject: WeMash, Inc. vs. WeMesh Inc. - Meet and Confer




Counsel:



Please see attached correspondence from Bobby Ghajar.



Thank you.

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